USCA4 Appeal: 07-4115   Doc: 69   Filed: 09/20/2007   Pg: 1 of 6




                                    Document 1



                                    Document 2



                                    Document 3
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                                     UNITED STATES COURT OF APPEALS
                                                    FOR THE FOURTH CIRCUIT
                                          Lewis F. Powell, Jr. United States Courthouse Annex
                                                    1100 E. Main Street, Suite 501
                                                   Richmond, Virginia 23219-3517

    Patricia S. Connor                                  www.ca4.uscourts.gov                      Telephone
           Clerk                                                                                (804) 916-2700




                                                  September 20, 2007



              LaVon D. Dobie
              #38360-037
              SFF - Hazelton
              P. O. Box 3000
              Bruceton Mills, WV           26525


                         Re: 07-4115 US v. Dobie
                                    8:04-cr-00235-RWT


              Dear Ms. Dobie:

                   Thomas P. McNamara has been appointed to serve as
              your attorney for this appeal. The attorney's phone number is
              919-856-4236.




                                                                Yours truly,

                                                                PATRICIA S. CONNOR
                                                                      Clerk


                                                                  /s/ Sharon A. Wiley
                                                                By: ________________________
                                                                     Deputy Clerk



              Copies to:

              Deborah A. Johnston, Esq.
              OFFICE OF THE U. S. ATTORNEY
              Suite 400
              6500 Cherrywood Lane
              Greenbelt, MD 20770

              Bonnie S. Greenberg, Esq.
              OFFICE OF THE U. S. ATTORNEY
              4th Floor
              36 South Charles Street
              Baltimore, MD 21201
USCA4 Appeal: 07-4115   Doc: 69   Filed: 09/20/2007   Pg: 3 of 6




          Peter Dennis Ward, Esq.
          LAW OFFICE OF PETER D. WARD
          Suite 105
          300 Allegheny Avenue
          Baltimore, MD 21204

          Thomas Peter McNamara, Esq.
          OFFICE OF THE FEDERAL PUBLIC DEFENDER
          Suite 450
          150 Fayetteville Street Mall
          Raleigh, NC 27601
USCA4 Appeal: 07-4115    Doc: 69     Filed: 09/20/2007   Pg: 4 of 6


                              UNITED STATES COURT OF APPEALS

                                   FOR THE FOURTH CIRCUIT
                                                                            FILED
                                                                      September 20, 2007

                    Lead Case: 07-4059 US v. Learley R. Goodwin




                                           No. 07-4115
                                               8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                    Plaintiff - Appellee


     v.

  LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a
  Dobie Parker

                    Defendant - Appellant



                                           _________

                                           O R D E R
                                           _________

                Appellant has filed a motion to relieve her attorney on appeal.

                The Court relieves appellant's counsel, Peter D. Ward, from

          the obligation of further legal representation of appellant in this

          appeal.

                The Court appoints the Federal Public Defender at Raleigh, NC,

          as counsel to represent LaVon Dobie in this appeal.


                                               For the Court - By Direction



                                               /s/ Patricia S. Connor
                                               _________________________
                                                          CLERK
USCA4 Appeal: 07-4115            Doc: 69             Filed: 09/20/2007             Pg: 5 of 6


                                      UNITED STATES COURT OF APPEALS
                                                     FOR THE FOURTH CIRCUIT
                                           Lewis F. Powell, Jr. United States Courthouse Annex
                                                     1100 E. Main Street, Suite 501
                                                    Richmond, Virginia 23219-3517

    Patricia S. Connor                                   www.ca4.uscourts.gov                      Telephone
           Clerk                                                                                 (804) 916-2700




                                                   September 20, 2007


              Thomas Peter McNamara, Esq.
              OFFICE OF THE FEDERAL PUBLIC DEFENDER
              Suite 450
              150 Fayetteville Street Mall
              Raleigh, NC 27601




                         Re: 07-4115 US v. Dobie
                                    8:04-cr-00235-RWT



              Dear Counsel:

                   This appeal was docketed on 1/25/07, pursuant to Rule 12(a)
              of the Federal Rules of Appellate Procedure. Docket number
              07-4115 should be placed on all papers subsequently submitted to this
              Court. Enclosed is a copy of an order appointing you as counsel
              for the defendant. Appellant's previous attorney, Peter D. Ward,
              can be reached at 410-494-8988.

                         Also enclosed are the following:

                         1.   Counsel of Record Form (to be returned within 14 days)
                         2.   Docketing Statement (to be returned within 14 days)
                         3.   Copies of the documents that have been filed in this
                              case (if you are an email recipient, these documents
                              will be sent by U.S. mail)
                         4.   Memorandum on Sealed and Confidential Materials
                         5.   Transcript Order Form
                         6.   CJA 24 form (except Federal Public Defenders)
                         7.   CJA Payment Memorandum
                         8.   CJA Time and Expense Worksheets

                   You may review the record in this case at the district court
              in Baltimore, MD.   Please make sure that all the necessary
              transcripts have been ordered properly. If not, please take the
              necessary steps to order them from the court reporter. This must
              be done within ten days of the date of this letter.

                   If prior counsel filed the appellant's brief, a copy is
              enclosed for your review. If, after reviewing the brief, you
              wish to strike appellant's brief or to file a supplemental
              brief, you must file a motion to strike brief or to file a
              supplemental brief within ten days of the date of this letter.
USCA4 Appeal: 07-4115   Doc: 69    Filed: 09/20/2007   Pg: 6 of 6




               Thank you for accepting this appointment. I assure you that
          this office will work with you in any way necessary.

               For information about this case, you can contact me by dialing
          (804) 916-2700.




                                           Yours truly,

                                           PATRICIA S. CONNOR
                                                 Clerk


                                             /s/ Sharon A. Wiley
                                           By: ________________________
                                                Deputy Clerk

          cc:   Deborah A. Johnston
                Bonnie S. Greenberg
                Peter Dennis Ward
                Clerk, U. S. District Court
                Sharon Mech-O'Neill
                Gloria Williams
                Tracy Dunlap
                Kathy Chiarizia
